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                      UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                        )
                                                )
                        Plaintiff,              )
                                                )
v.                                              )     Docket No.: 17-CR-243 (SHS)
                                                )
THOMAS O’REILLY                                 )
                                                )
                        Defendant.              )
                                                )

                           SENTENCING MEMORANDUM
                         ON BEHALF OF THOMAS O’REILLY


        Through counsel, Thomas O’Reilly (“Mr. O’Reilly”) files the following Sentencing

Memorandum setting forth all factors that the Court should consider in determining what

type and length of sentence is sufficient, but not greater than necessary, to comply with the

statutory directives set forth in 18 U.S.C. § 3553(a).

        United States Supreme Court Justice Anthony Kennedy has stated that, “our

resources are misspent, our punishments too severe, our sentences too long.”1 It is

incumbent on this Court to, “consider every convicted person as an individual and every

case as a unique study in the human failings that sometimes mitigate, sometimes magnify,

the crime and the punishment to ensue.” Koon v. United States, 518, U.S. 81, 113 (1996).

        Mr. O’Reilly requests a sentence of time served.

                            GUIDELINE CONSIDERATIONS




1 Justice Anthony Kennedy, Speech at the American Bar Association Annual Meeting, August 9, 2003,
http://74.125.47.132/search?q=cache:RaV8HeXt5s0J:www.supremecourtus.gov/publicinfo/speeches/sp_08
-09-
03.html+Justice+Anthony+Kennedy,+American+Bar+Association+meeting,+August+9,+2003&cd=1&hl=
en&ct=clnk&gl=us
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          1.   Nature and Circumstances of Offense

          Mr. O’Reilly was arrested for and plead guilty to destroying documents and other

items relating at the direction of his superiors. The destruction of evidence was related to

a fraud scheme created and controlled by his boss.

          2.   History and Characteristics of Mr. O’Reilly

          Mr. O’Reilly is fully aware of his wrongs, and he accepts full responsibility. The

unfortunate reality is Mr. O’Reilly’s involvement in this case, and the reason he is in jail

now it that he is a severe drug addict. But for his addiction, he would very likely never

ended up in this situation. Mr. O’Reilly stands before this Court at the lowest point in his

life.

          As the Presentence Report will reflect, Mr. O’Reilly came from a divided home,

and suffered severe issues because of it. He began using drugs and has never turned back.

The issues he faced from that period of his life were only compounded by his experience

in the military where he suffered abuse. That abuse ultimately pushed him further into his

addiction after he was discharged.

          Mr. O’Reilly, has had a very difficult time recovering from his issues. A spate of

minor criminal cases, all related to his drug use, and several failed attempts at rehab have

piled up on Mr. O’Reilly. Despite these things he is still optimistic that he can do what he

needs to do to reform his life.

          Mr. O’Reilly has learned valuable lessons while at MDC. He realizes now that

childish decisions are things he must put behind him. He is focused on his future and will

take the lessons learned here with him for the rest of his life.
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       Mr. O’Reilly has tremendous potential. He is intelligent and energetic. With the

right opportunity he will have the chance to advance far in his life, which has really only

just begun.

       Mr. O’Reilly should be judged on the whole of his life. He wants an opportunity

to live a law-abiding life, where he can work to correct his misstep and continue his career.

       One of this Court’s colleagues, Judge Rakoff, says:

               [S]urely if every man is to receive credit for the good
               he has done, and his immediate misconduct assessed
               in the context of his overall life hitherto, it should be
               at the moment of his sentencing, when his very future
               hangs in the balance. This elementary principle of
               weighing the good with the bad, which is basic to all
               great religions, moral philosophies, and systems of
               justice, was plainly part of what Congress had in
               mind when it directed the Courts to consider, as a
               necessary sentencing factor, “the history and
               characteristics of the defendant.”

United States v. Adelson, 441 F.Supp. 2d 506, 513-14 (S.D.N.Y. 2006). Based on that, Mr.

O’Reilly’s good far outweighs the bad. The sentencing factors found in 3553(a) weigh in

favor of a sentence of time served, which is sufficient, but not greater than necessary to

comply with the sentencing factors found in 18 U.S.C. 3355(a).

       3. Specific and General Deterrence

       Specific and general deterrence is a specific component of most sentences.

Research has consistently shown that while the certainty of being caught and punished has

a deterrent effect, “increases in severity of punishments do not yield significant (if any)

marginal deterrent effects.” Michael Tonry, Purposes and Functions of Sentencing, 34

Crime & Just. 1, 28 (2006). “Three National Academy of Science panels . . . reached that

conclusion, as has every major survey of the evidence.” Id.; see also Zvi D. Gabbay,
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Exploring the Limits of the Restorative Justice Paradigm: Restorative Justice and White

Collar Crime, 8 Cardozo J. Conflict Resol. 421, 447-48 (2007) (“[C]ertainty of punishment

is empirically known to be a far better deterrent than its severity.”).


       General deterrence is based, in part, on creating or enhancing a particular

individual’s sentence based on the prospect, entirely speculative and inchoate, of

influencing some unknown future wrongdoer who has not committed, or perhaps even

contemplated, a crime. A person should receive the sentence they deserve, without

significant consideration for what some other future, unknown person may deserve. See

Michael J. Lynch, Beating a dead horse: Is there any basic empirical evidence for the

deterrent effect of punishment?, 31 Crime, Law & Social Change 347 (1999) (hereinafter

“Beating a dead horse”), at 355 (“[m]ost assuredly, the assumption that a lesser increase

in the rate of incarceration would have caused an inflated rate of offending is just that – an

assumption or assertion which cannot be demonstrated except with data that make a great

many assumptions about how individuals might behave given some set of hypothetical

circumstances “) (emphasis in original).


       Typical of the findings on general deterrence are those of the Institute of

Criminology at Cambridge University. See Andrew von Hirsch et al., Criminal Deterrence

and Sentence Severity: An Analysis of Recent Research (1999), summary available at

http://members.lycos.co.uk/lawnet/SENTENCE.PDF. The report, commissioned by the

British Home Office, examined penalties in the United States as well as several European

countries. Id. at 1. It examined the effects of changes to both the certainty and severity of

punishment. Id. While significant correlations were found between the certainty of

punishment and crime rates, the “correlations between sentence severity and crime rates .
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. . were not sufficient to achieve statistical significance.” Id. At 2. The report concluded,

“the studies reviewed do not provide a basis for inferring that increasing the severity of

sentences is capable of enhancing deterrent effects.” Id. At 1.


         Similarly, an extensive report issued in 2015 by the Brennan Center for Justice (at

New York University School of Law) concluded that, controlling for other variables,

incarceration rates have increased to such an extent in the United States that they have not

played a role in crime reduction for many years2. See Dr. Oliver Roeder, Lauren-Brooke

Eisen & Julia Bowling, What caused the Crime Decline?, Brennan Center for Justice, at 7

(February 26, 2015) (hereinafter “Brennan Report”) (“the current exorbitant level of

incarceration has reached a point where diminishing returns have rendered the crime

reduction effect of incarceration so small, it has become nil”). Synthesizing data from the

past few decades with recently collected data, the Brennan Report determined that

“incarceration has been decreasing as a crime fighting tactic since at least 1980…[and

s]ince approximately 1990, the effectiveness of increased incarceration on bringing down

crime         has         been          essentially         zero.”                 Id.        at          23.




2 Portions of this section and statistical sentencing information were taken from materials prepared by
Joshua Dratel, Esq.
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Id.


        This lack of correlation between crime reduction and heightened incarceration rates

is apparent from the simultaneous declines in state prison populations and crime rates in

those states. See Brennan Report, at 27 (imprisonment and crime decreased by more than

15% in New York, California, Maryland, New Jersey, and Texas, which account for “more

than 46 percent of the US population”). The Brennan Report cites the overestimation of

the deterrent effect of heavy penalties as one possible factor in the ineffectiveness of

incarceration as a crime reduction tool. See Id. at 26 (relying in part on the National

Academy of Sciences report that concluded “insufficient evidence exists to justify

predicating policy choices on the general assumption that harsher punishments yield

measurable deterrent effects”).
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Id.


        In this instance, a few more months of jail will not serve the need to provide

deterrence. The fact that Mr. O’Reilly was apprehended and faces a swift definite

punishment accomplishes these goals.


        4. Need to protect the public from further crimes of the defendant

        In 1996, The Sentencing Commission staff drafted a document entitled Sentencing

Options under the Guidelines, that acknowledged non-prison sentences are associated with

less recidivism than prison sentences, and that “[m]any federal offenders who do not

currently qualify for alternatives have relatively low risks of recidivism compared to

offenders in state systems and to other federal offenders on supervised release,” and that

“alternatives divert offenders from the criminogenic effects of imprisonment which include

contact with more serious offenders, disruption of legal employment, and weakening of
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family ties.” U.S. Sentencing Commission, Staff Discussion Paper, Sentencing Option

under                 the                  Guidelines                 (Nov.               1996),

http://www.rashkind.com/alternatives/dir_00/USSC_sentencingoptions.pdf.

         According to a June 2012 study by the Pew Center on the States, entitled Time

Served – The High Cost, Low Return of Longer Prison Terms (hereinafter “Pew Report),

which analyzed state data reported to the federal government between 1990 and 2009,

“offenders released in 2009 served an average of almost three years in custody, nine months

or 36 percent longer than offenders released in 1990. The cost of that extra nine months

totals   and    average     of   $23,460     per   offender.”   Id.    at     2,   available   at

http://www.pewstates.org.uploadedFiles/PCS_Assets/2012/

Prison_Time_Served.pdf.

         Also, the Pew Report found that “for offenders released in 2009 after serving prison

sentences for drug crimes: 2.2 years in prison, up from 1.6 years in 1990 (a 36% increase).”

Id. at 3. Nor, with respect to many offenders, was there a correlation between the longer

imprisonment and improved public safety. As the Pew Report concluded:

                [d]espite the strong pattern of increasing length of stay, the
                relationship between time served in prison and public safety
                has proven to be complicated. For a substantial number of
                offenders, there is little or no evidence that keeping them
                locked up longer prevents additional crime.

Id. at 4. See also Id. (“[a] new Pew analysis conducted by external researchers using data

from three states –Florida, Maryland and Michigan – found that a significant proportion of

nonviolent offenders who were released in 2004 could have served shorter prison terms

without impacting public safety”).
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       Mr. O’Reilly did not commit violence in this offense. This purely financial offense

militates in favor of time served.

       5.      The Sentencing Range Established by the Sentencing Commission

       Pursuant to the plea agreement, the parties stipulated that, under the United States

Sentencing Guidelines the range is 15-21 months.

       6.       The need to provide restitution to any victims of the offense

       Restitution is not applicable.

                                         Conclusion

       For the foregoing reasons, Mr. O’Reilly respectfully submits that a sentence of time

served is sufficient, but not greater than necessary, to comply with the statutory directives

set forth in 18 U.S.C. § 3553.

       Respectfully submitted this 22nd Day of June, 2017.

                                                       s/ Bradley L. Henry
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                              CERTIFICATE OF SERVICE

        I do hereby certify that on June 22, 2017, a copy of the foregoing document was
filed electronically. Notice of this filing will be sent by operation of the Court’s
electronic filing system to all parties indicated on the electronic filing receipt. All other
parties will be served by U.S. mail. Parties may access this filing through the Court’s
electronic filing system.

                                                       s/ Bradley L. Henry
